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                          EXHIBIT 2




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
JUDGMENT - 14
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                         U.S. DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON

   STRIKE 3 HOLDINGS, LLC, a                )
   Delaware corporation,                    )
                                            )
                 Plaintiff,                 )
                                            ) No.
           -vs-                             ) 2:17-cv-01731-TSZ
                                            )
   JOHN DOE, subscriber assigned            )
   IP address 73.225.38.130,                )
                                            )
            Defendant.                      )
   _____________________________            )
                                            )
   JOHN DOE subscriber assigned             )
   IP address 73.225.38.130,                )
                                            )
                 Counterclaimaint,          )
                                            )
           -vs-                             )
                                            )
   STRIKE 3 HOLDINGS, LLC,                  )
                                            )
                 Counterdefendant.          )

            The deposition of
   SUSAN BLACKWOOD STALZER, called for examination
   pursuant to notice and the Rules of Civil
   Procedure for the United States District Courts
   pertaining to the taking of depositions, taken
   before Allison D. Weber, CSR, a notary public
   within and for the County of Cook and State of
   Illinois, at 8745 West Higgins Road, Suite 110,
   Chicago, Illinois, on April 16, 2019, at the
   hour of 10:08 o'clock a.m.


   Reported by:          Allison D. Weber, CSR
   License No.:          084-002238



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DECLARATION OF ADRIENNE D. MCENTEE IN
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1             Q.     Okay.      And click on that link.         And
2      does it insert a hyperlink into the Google
3      browser?
4             A.     Okay.
5                    MR. BANDLOW:       It's a separate
6             favorite, a tab that's a favorite.               Her
7             home page is Google and she has a tab, she
8             clicks it and it's in there.
9                    MR. EDMONDSON:        Could we go off the
10            record for a moment, please?
11                               (A short break was taken.)
12                   MR. EDMONDSON:        Let's go back on the
13            record.
14     BY MR. EDMONDSON:
15            Q.     So we went on break.           Did you talk to
16     anybody during the break aside from the court
17     reporter?
18            A.     No -- that's not true.              I mentioned to
19     the -- I couldn't find the bathroom, so I asked
20     the lady at the front.
21            Q.     And did you talk to anybody about this
22     case?
23            A.     No.
24            Q.     Now, I have handed you a Document 63,
25     which is your sketch of your desktop.                 If I

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1      understand your testimony correctly, there is a
2      link on your desktop.            What's the title of that
3      link?
4             A.     Verification tool.
5             Q.     Verification tool.          Who provided you
6      with that link?
7             A.     Strike 3.
8             Q.     Okay.      And who at Strike 3 provided
9      you with that link?
10            A.     Sud.      Please do not ask me his last
11     name because I cannot spell it, nor pronounce
12     it.
13            Q.     Well, can you say it?
14            A.     No, sir, I cannot pronounce it, and I
15     wouldn't guess at the spelling.
16            Q.     Do you get e-mails directly from Sud?
17            A.     I do.
18            Q.     Well, how many e-mails have you gotten
19     from Sud since your engagement with Strike 3
20     started?
21            A.     I don't know.
22            Q.     Can you estimate?
23            A.     Less than 100.
24            Q.     And what's the topic of these e-mails?
25            A.     The only e-mails I get from Sud are to

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1             Q.     How do you know about Strike 3's
2      determination to protect its copyrights?
3             A.     Because they hire me and other people
4      to help determine whether or not their material
5      has been incorrectly taken.
6             Q.     So that's the only -- when you said
7      determination to protect its copyrights, that's
8      what you meant?          Did you draft the sentence?
9             A.     No, sir.
10            Q.     Okay.      So you did not draft
11     Paragraph 6, correct?
12                   MR. BANDLOW:       Objection.       Asked and
13            answered.
14                   THE WITNESS:       As I stated, I did not
15            draft this document.
16     BY MR. EDMONDSON:
17            Q.     Okay.      And did you draft -- you didn't
18     draft Paragraph 5, did you?
19                   MR. BANDLOW:       Objection.       Asked and
20            answered at this point.
21                   THE WITNESS:       No, sir.
22                   MR. EDMONDSON:        All right.     I'll ask.
23                   MR. BANDLOW:       She stated very clearly
24            she didn't draft a single thing in this
25            declaration.

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1      myself, Sud will communicate with me and copy
2      Tobias or communicate with Tobias and copy me,
3      "When is the next batch being uploaded,"
4      something to that effect.
5             Q.     And what's Tobias's e-mail address?
6             A.     I don't know off the top of my head.
7             Q.     But IPP did not provide you with the
8      infringing motion picture, the verification
9      system provides you with that?
10            A.     They have to get there somehow.       They
11     have to get into the verification tool some way,
12     and IPP is the way in which they are loaded into
13     the verification tool.
14            Q.     But there's nothing on the
15     verification tool that says IPP on it, correct?
16            A.     Not to my knowledge.
17            Q.     Okay.      Now, looking at Paragraph 9 of
18     this declaration, do you see reference to
19     Exhibit A?
20            A.     Yes.
21            Q.     Did you ever look at Exhibit A for
22     Case No. 17-cv-01731?
23            A.     The exhibits are sent to me with the
24     declarations.
25            Q.     Oh, so you did look at the exhibit?

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